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             IN THE UNITED STATES DISTRICT COURT
            FOR THE NORTHERN DISTRICT OF ILLINOIS
                            EASTERN DIVISION
Cuauhtemoc Hernandez,              )
                                   )
                 Plaintiff,        )
                                   )
           -vs-                    ) No. 23-cv-16970
                                   )
Thomas Dart, Sheriff of Cook       ) Judge Harjani
County, and Cook County, Illinois, )
                                   )
                                   )
                 Defendants.       )

     REPLY IN SUPPORT OF PLAINTIFF’S MOTION FOR CLASS
                      CERTIFICATION

      Plaintiff Cuauhtemoc Hernandez, a former inmate at Cook County

Jail whose disability requires him to use a cane, alleges defendants Sheriff

Thomas Dart and Cook County have not repaired a non-compliant ramp

located in Cermak, in violation of the Americans with Disabilities Act

(ADA). Plaintiff seeks to represent a class of individuals prescribed a cane,

crutch, or walker who traversed this non-compliant ramp between

December 20, 2021, and the date of entry of judgment.

      Defendants fail to respond to the argument that Cermak was

constructed after 1992 and therefore must comply with the federal

architectural standards. See Dkt. 10, Memorandum at 11. Nor do

defendants comment on the Corridor Ramp Accessibility Assessment

dated December 6, 2023 by Globetrotters Engineering Corporation that

provides a factual basis in support of plaintiff’s position the ramp is non-
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compliant. See Dkt. 10, Memorandum at 1; Dkt. 10-1, Corridor Ramp

Accessibility Assessment at 3, 15. The ramp is non-compliant because: (1)

the rise is greater than 30 inches and lacks an intermediate landing, and

(2) the existing handrails are not continuous because they do not extend

“horizontally a minimum of 12 inches beyond the top and bottom of the

ramp.”1 Id.

       While defendants do not challenge the adequacy of plaintiff or his

counsel under Rule 23(a)(4), every other element is vigorously contested.

See Dkt. 19, Response at 7. The issue in this litigation concerns one

common question; namely, whether the ramp complies with the federal

accessibility standards. Plaintiff “proposes a class that will win if the

Standards apply (and were violated, to detainees’ detriment) and otherwise

will lose.” Bennett v. Dart, 953 F.3d 467, 469 (7th Cir. 2020). At this stage

of the litigation, defendants’ claim the litigation turns on an individual

review of each class member’s ability to traverse the ramp is inconsistent

with the holding in Bennett v. Dart, 53 F.4th 419 (7th Cir. 2022). Plaintiff

requests that the Court reject defendants’ arguments for the following

reasons.




       1
         Hand-railings were installed in late 2022 as a result of an agreed order in
Walker v. Dart. See Exhibit 1, Agreed Order in Walker v. Dart, 20-cv-261. Prior to this
date, the ramp did not have any hand-railings.
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        I.   The class is ascertainable

      Defendants argue plaintiff fails to identify an ascertainable class

since the proposed class “assumes that every person in custody with

mobility devices used the Cermak ramp on the same basis as Plaintiff” and

that “[n]ot everyone prescribed a cane, crutch, or walker for some

purposes at CCDOC was prescribed it to traverse the Cermak ramp.” Dkt.

19, Response at 19-20. Plaintiff requests that that the Court reject this

argument for the following reasons.

      The defendants are able to identify all individuals prescribed a cane,

crutch, or walker at Cook County Jail who traversed the Cermak ramp.

The Sheriff and County are currently litigating Walker v. Dart, 20-cv-261, a

class certified under Rule 23(b)(2) and (b)(3) relating to wheelchair-users

traversing the same ramp. Walker v. Dart, 2021 WL 809765 (N.D. Ill.

2021); Dkt. 10-6, Walker v. Dart, 20-cv-261, Dkt. 159 (order certifying Rule

23(b)(3) class). In Walker the defendants did not challenge ascertainability.

Walker, 2021 WL 809765, fn. 2. After the district court allowed the case to

proceed under Rule 23(b)(3), defendants produced a computer

spreadsheet identifying approximately 500 detainees who moved up and

down this ramp in a wheelchair. See Dkt. 10-3, Unopposed Motion to Send

Notice in Walker. This computer spreadsheet identified all detainees

prescribed a wheelchair (either for use at all times or long distance,

meaning outside the living unit) who traversed the ramp at issue in this

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case. Similar records are kept for detainees prescribed either a cane,

crutch, or walker.

      In Lacy v. Cook County, the Seventh Circuit affirmed the certification

of a class of wheelchair-users who alleged certain Cook County

Courthouse were not accessible. 897 F.3d 847, 869 (7th Cir. 2018). The

Lacy class, defined as “[a]ll Cook County Jail detainees who have been

assigned and currently use a wheelchair,” Lacy v. Dart, 2015 WL 1995576,

at *7 (N.D. Ill. 2015) (Gettleman, J.), is substantially identical to the Walker

class and the proposed class here. Defendants’ objection that the class is

not ascertainable is without merit.

        II.   The proposed class satisfies Rule 23(a)(1)

      Defendants argue plaintiff cannot satisfy the numerosity requirement

of Rule 23(a)(1) because the “proposed class lacks concrete facts or other

qualifying metrics, making it inherently speculative” and “fails to identify a

particular group, harmed during a particular time, and harmed in a

particular way.” Dkt. 19, Response at 13. The Court should reject these

arguments for the following reason.

      First, the Sheriff’s online training material admits “mobility

impairments” is one of the “most frequent Department of Corrections

disabilities.” Dkt. 10-7, Inmates with Disabilities Court at 4. Video of the

Cermak ramp shows inmates using a cane, crutch or walker traverse this

non-compliant ramp on a daily basis. For example, video from June 29,

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2021, captures an individual using a walker and another individual use

crutches to traverse the ramp. Exhibit 2, Video of individual using crutches

(to be filed as a Digital Media Exhibit); Exhibit 3, Video of individual using

crutches (to be filed as a Digital Media Exhibit); Exhibit 4, Video of

individual using walker (to be filed as a Digital Media Exhibit); Exhibit 5,

Video of individual using walker (to be filed as a Digital Media Exhibit).

       It is reasonable to infer there are hundreds of putative class

members in this case. In Bennett, a class action involving individuals

prescribed a cane, crutch, or walker in Division 10 at Cook County Jail,

defendants produced a list identifying more than 600 putative class

members. And in Walker, notice was sent to more than 500 putative class

members identified as traversing the Cermak ramp in a wheelchair.

Accordingly, a sensible estimate of the putative class here is approximately

500 individuals.

      Importantly, defendants have “not suggested how many of these

individuals could not have been injured under the ADA, let alone shown ‘a

great many’ who evaded harm.” Lacy, 897 F.3d at 864. As the Court of

Appeals held in Lacy when reviewing an allegation of structural barriers for

wheelchair-using inmates to navigate non-compliant ramps and

inaccessible toilets during court appearances, “the class definition is well

tailored to reach those individuals who would have suffered the



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deprivations alleged here.” Id. For many of the same reasons, the

defendants’ objection to numerosity is without merit.

       III.   Commonality and typicality

      Defendants contend plaintiff is unable to demonstrate commonality

and typicality as required by Rule 23(a). See Dkt. 19, Response at 7-11.

The Court should reject these arguments for nearly the same reasons

articulated by the district court in Walker. 2021 WL 809765, at *3-5.

      Commonality and typicality are satisfied here because the issue to

be resolved on a class-wide basis is whether the ramp complies with the

structural standards. For nearly identical reasons explained in Walker, “the

common questions of law or fact are capable of class-wide resolution.”

Walker, 2021 WL 809765, at *5. Defendants’ suggestion that plaintiff has

no evidence “showing the existence of common questions of law and fact,”

see Dkt. 19, Response at 8, misrepresents the record-evidence that the

ramp does not comply with the applicable standards. Globetrotters

Engineering Corporation submitted the Corridor Ramp Accessibility

Assessment to Cook County in December of 2023 finding the Cermak

ramp does “not comply with current code requirements” because the rise

of the ramp is 32.4 inches and lacks an intermediate landing and the

current handrails do not extend “a minimum of 12 inches beyond the top

and bottom of the ramp.” Dkt. 10-1, Corridor Ramp Accessibility

Assessment at 3, 15. Defendants are clearly wrong the only “support for

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commonality of the class” is reference to Bennett. See Dkt. 19, Response

at 9.

        Defendants are also wrong the putative class does not seek

common relief. Dkt. 19, Response at 9. The parties dispute whether the

Cermak ramp presents a structural barrier for mobility impaired detainees.

See Dkt. 14, County Answer ¶ 12; Dkt. 15, Sheriff Answer ¶ 12. Resolution

of this case as a class action under Rule 23(c)(4) resolves the issue

whether the ramp complies with the ADA and “[c]lass members would

receive the benefit of a declaratory judgment (if the class prevails) on the

issue but would need to proceed in individual suits to seek damages; by

contrast, if the class loses, every detainee would be bound through the

doctrine of issue preclusion.” Bennett v. Dart, 53 F.4th 419, 420 (7th Cir.

2022).

        Defendant also ignores the record-evidence to argue plaintiff fails to

satisfy typicality because he fails to present “evidence about his disability,

what assistive devices he uses, when he uses them, or what issues he had

ambulating the ramp in question.” Dkt. 19, Response at 10. Defendant

Cook County admits plaintiff was prescribed a cane by the Jail’s medical

staff to move from place to place. Dkt. 14, County Answer ¶ 9. The record

also contains a letter from Physician Assistant Jeneal Duff dated May 3,

2020, noting plaintiff uses a cane to ambulate due to chronic knee and

back pain. Dkt. 10-4, PA Duff letter dated 5/3/2020 at 1. This letter, which

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defendants fail to acknowledge, states plaintiff is “walking with cane for

support, especially with long distances” and to “[p]lease allow adequate

time to rest while ambulating.” Id. at 1. Plaintiff Hernandez, therefore, is

typical of putative class members because he uses a cane and would

benefit from an ADA compliant ramp; a ramp with the required

intermediate landing that would allow a physically disabled person to

traverse the ramp on the same basis as a non-disabled person.

      Defendants’ other argument regarding typicality, that plaintiff has not

“established that every detainee who was assigned a cane, crutch, or

walker would have used the Cermak ramp in the same manner, and would

have navigated the ramps without assistance,” dkt. 19, Response at 11,

should be rejected for many of the same reasons explained in Walker.

Plaintiff satisfies typicality because “his claim arises from the same course

of conduct as the other class members – Defendants’ alleged failure to

bring the Cermak ramp into compliance with the ADA and RHA.” Walker,

2021 WL 809765, at *5.

      In conclusion, plaintiff requests that the Court reject defendants’

challenge to commonality and typicality.

       IV.   Certification appropriate under Rule 23(b)(3) and Rule
             23(c)(4)

       Defendants aver plaintiff is unable to satisfy the predominance

element of Rule 23(b)(3) due to a need for “an in-depth analysis of


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individual issues” since the putative class did not “receive[] the same

injuries, nor experience[] the same incident.” Dkt. 19, Response at 16-17.

This argument should be rejected for the following reasons.

      First, the Seventh Circuit in Bennett rejected this identical argument

relating to a class of inmates assigned a cane, crutch, or walker assigned

to Division 10 at Cook County Jail who alleged the toilets and showers

violated the federal accessibility standards. Bennett, 53 F.4th at 420. The

Seventh Circuit held the issue whether this building violated the applicable

federal accessibility standards is an issue “relevant to every detainee in

Division 10.” Id. Defendants’ attempt to distinguish Bennett by stating

“here, Plaintiff still seeks to certify a class, not an issue” plainly misreads

the motion. See Dkt. 19, Response at 17. The motion states plaintiff seeks

to certify this case to resolve an “issue under Rule 23(c)(4) whether the

ramp complied with the structural standards required by the ADA and

Rehabilitation Act between December 20, 2021 and the date of entry of

judgment.” Dkt. 9, Motion.

      Defendants next challenge predominance by suggesting the various

putative class members “will require different reasonable accommodations

from one another.” Dkt. 19, Response at 15. This argument is flawed.

Buildings constructed after the passage of the ADA, such as the Cermak

ramp, must comply with structural accessibility standards adopted by the

Department of Justice. Lacy, 897 F.3d at 853 (citing 28 C.F.R. §

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35.151(c)); Clemons v. Dart, 168 F.Supp.3d at 1060, 1066 (N.D. Ill. 2016)

(Tharp, J.) (“Thus, if a facility is constructed after 1992 – as was Cermak –

it must comply with federal architectural standards.”). The common

question, similar to Bennett, is whether the facility at issue here violates

the federal accessibility standards. Bennett, 53 F.4th at 420.

      Defendants attempt to distinguish Bennett v. Dart, 53 F.4th 419 (7th

Cir. 2022), on grounds the putative class here does not present evidence

they “have received the same injuries, nor experienced the same incident”

and that in Bennett the class was certified only “with respect to the issue

as opposed to the case at whole.” See Dkt. 19, Response at 16-17.

Defendants misunderstand plaintiff’s requested relief; the plaintiff requests

to certify an issue, similar to the plaintiff class in Bennett. See Dkt. 10,

Memorandum at 10-11. Bennett is controlling and the common question -

whether the Cermak ramp complies with the accessibility standards - is

relevant to every detainee at Cook County Jail. See Bennett, 53 F.4th at

420. And “[a] class certified under Rule 23(c)(4) resolves the issue, not the

whole case” where “[c]lass members would receive the benefit of a

declaratory judgment (if the class prevails) on the issue but would need to

proceed in individual suits to seek damages; by contrast, if the class loses,

every detainee would be bound through the doctrine of issue preclusion.”

Bennett, 53 F.4th at 420 (emphasis in original).



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      Bennett was recently applied in Walker v. Dart, 20-cv-261, to certify

a class under Rule 23(b)(3), where the plaintiff class, defined as

wheelchair-users, alleged the Cook County Jail violated the ADA by

refusing to repair the non-compliant Cermak ramp. The district court found

predominance satisfied for the following reasons:

      Defendants are also correct that the class members may have
      different damages (Dkt. 137 at 2), but again Bennett II
      instructs that those can be resolved by individual damage
      determinations. Id.; see also Butler v. Sears, Roebuck & Co.,
      727 F.3d 800 (7th Cir. 2013) (“[A] class action limited to
      determining liability on a class-wide basis, with separate
      hearings to determine – if liability is established – the
      damages of individual class members, or homogeneous
      groups of class members, is permitted by Rule 23(c)(4) and
      will often be the sensible way to proceed.”); Otero v. Dart, 306
      F.R.D. 197, 207 (N.D.Ill. 2014) (“Even if damages vary among
      class members, the Court may hold separate liability and
      damage trials or appoint a magistrate judge to preside over
      individual damages proceedings.”).

      Finally, Defendants argue that Plaintiff failed to indicate that
      class members suffered a detriment. (Dkt. 137 at 2). That is
      not accurate. Plaintiff alleged that “structural barriers prevent
      plaintiff and similarly situated wheelchair users from using the
      ramp similar to non-disabled inmates[,]” resulting in Plaintiff
      suffering physical injuries. (Dkt. 34 at ¶ 14 and Dkt. 138 at 4).
      In addition, Plaintiff highlights four other pending lawsuits
      where inmates allege physical damages when moving up and
      down the Cermak ramp that were brought after the Court’s
      certification order. (Dkt. 128 at 3-4) [footnote omitted]. While
      the specific injuries may vary, the issue of the Structural
      Standards may “be determined class-wide . . . leaving to the
      future any particular inmate’s claim to relief.” Bennett II, 53
      F.4th at 420. Thus, upon reconsideration, the Court finds that
      Plaintiff has satisfied the predominance requirement.

Dkt. 10-6, Walker v. Dart, 20-cv-261, Order at 3-4.


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       The analysis in Walker applies here in full force. The question of

damages for putative class members may be resolved by individual

damage determinations where defendants are free to present all applicable

defenses. In short, plaintiff satisfies the predominance inquiry because

resolution of the common question whether the ramp complies with the

federal structural accessibility standards is a common issue likely to drive

resolution.

        V.    Superior

       Defendants re-raise many of the same argument to suggest a class

action is not a superior method of adjudicating the claims regarding the

Cermak ramp. See Dkt. 19, Response at 17-19. Defendants claim a class

action would be difficult to manage because “individual questions relating to

Plaintiff’s claims will require highly tailored and individualized inquiries into

disability, assistive device, injury, and potentially other substantive or

procedural issues, such as exhaustion of administrative remedies or statute

of limitations.” Dkt. 19, Response at 18. This position misapplies the Seventh

Circuit’s holding in Bennett, 53 F.4th at 420 (“We do not see – and the district

judge did not explain – why the application of the Standards cannot be

determined class-wide, while leaving to the future any particular inmate’s

claim to other relief.”).

       Additionally, at least one other case has challenged movement up

and down this allegedly non-compliant ramp by an individual prescribed

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crutches. This case, Spence v. Dart, No. 18-cv-4258, was resolved after

the district court decided cross-motions for summary judgment. See

Spence v. Dart, 2020 WL 4677053 (N.D. Ill. 2020) (Kennelly, J.). It is likely

other civil cases will challenge the same or substantially similar issues and

“proceeding as a class achieves economies of time, effort, and expense

and promotes uniformity of decision.” Bennett v. Dart, 2020 WL 1812376,

at *3 (N.D. Ill. Apr. 9, 2020) (Blakey, J.).

      IX.    Conclusion

      Plaintiff requests that the Court order that this case proceed as a

class action pursuant to Rule 23(b)(3) of the Federal Rules of Civil

Procedure to resolve an issue under Rule 23(c)(4).

                                         Respectfully submitted,

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